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IN THE UNlTED sTATEs DISTRICT COURT F"‘E° BY -W D-C'
FOR THE WESTERN DIsTRIcT 0F TENNESSEE ‘
WESTERN DIVISION 05 JUL l 8 PH l+= 27
UNITED srATEs 0F AMERICA TPFOPM M. GOULD
K, U.S. QFST@¥CT COUT
vs CR. N0. 03-20440-13 W/‘D C¢C §.tEi.!€Pi~{!S

WILL REDMOND,

Defendant.

ORDER SETTING ASIDE ORDER 'I‘O SURRENDER

It is hereby ordered that the ORDER TO SURRENDER entered in this cause on

7-15-2005, for good cause shown, is hereby set aside as improvidently entered.

  

 

 
  

J. A§EL BREEN
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UNITED sTATE D"ISICT COURT - WESTERN D's'TRCT oFTENNESSEE

   
   

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Honorable J. Breen
US DISTRICT COURT

